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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF : CRIMINAL NO.
AMERICA :
MAGISTRATE NO. 22-mj-221
v.
: VIOLATIONS:
JOHN O’KELLY, : 18 U.S.C. § 231(a)3)
: (Civil Disorder)
Defendant. : 18U.S.C. § 111(a)(1)
:  (Assaulting, Resisting, or Impeding
Certain Officers)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted Building or
Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a Restricted
Building or Grounds)
40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol Grounds or
Buildings)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, JOHN O’KELLY
committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer, that is, an officer from the Metropolitan Police Department, lawfully engaged

in the lawful performance of his official duties incident to and during the commission of a civil

disorder which in any way and degree obstructed, delayed, and adversely affected commerce and
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the movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JOHN O’KELLY did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, an officer
from the Metropolitan Police Department, while such person was engaged in and on account of
the performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, JOHN O’ KELLY did knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, JOHN O’KELLY did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

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restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, JOHN O’ KELLY did knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, JOHN O’KELLY willfully and
knowingly engaged in an act of physical violence within the United States Capito! Grounds and
any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
